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Judge leighton

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASH[NGTON
AT TACOMA

UNITED STATES OF AMERICA, )
) No. CROS»SSZSRBL
Plaintiff, )
) PLEA AGREEMENT
"' §
JUSTIN SOLONDZ, )
)
Defendant. )

 

 

The United States of America, by and through'Jenny A. Durkan, United States Attorney
for the Western District of Washington, and Andrew C. Friedman and Thomas M. Woods,
Assistant United States Attorneys for said District, Defendant, Justin Solondz, and his attorney,
Michael C. Nance, enter into the following Agreement, pursuant to F ederal Rule of Crii'ninal
Procedure ll(c): n

l. The Charges. Defendant, having been advised of the right to have this matter
tried before a jury, agrees to waive that right and enters his pleas of guilty to the following
charges contained in the FiB;h Superseding Indictment.

a. Conspiracy, as charged in Count l, in violation of Title 18, United States

Code, Section 3?1; and

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b. Arson, as charged in Count 5, in violation of Title 18, United States Code,
Section 844(i).

By entering pleas of guilty, Defendant hereby waives all objections to the form of the charging
document. Defendant further understands that, before entering his pleas, he will be placed under
oath. Any statement given by Defendant under oath may be used by the United Statcs in a
prosecution for perjury or false statement

2. Elements of the Offenses. The elements of the offense of Conspiracy, as charged
in Count 1, are as follows: _

First, at some time between 1996 and October 2001, there was an agreement
between two or more persons to commit the crime of arson, as charged in the Fifth Superseding
Indictment;

Second, at some time between 1996 and October 2001, Defendant joined the
conspiracy knowing of its object and intending to help accomplish it; and n

Third, at some time between May ll, 2001, and October 2001 one of the members
of the conspiracy performed at least one overt act for the purpose of carrying out the conspiracy

The elements of the offense of Arson, as charged in Count 5, are as follows:

First, Defendant damaged or destroyed, or aided and abetted in damaging or
destroying, a building; `

Second, Defendant or the person whom Defendant aided and abetted, used tire to
do so;

Third, Defendant acted maliciously; and

Fourth, the building was used in interstate commerce or in activity affecting
interstate commerce

_3. The Penalties. Defendant understands that the statutory penalties for the offense
of Conspiracy as charged in Count 1 are as follows: imprisonment for up to five (5) years, a fine
of up to two hundred fifty thousand and no/ 100 dollars ($250,000.00), a period of supervision

following release from prison of up to three years, and a special assessment of one hundred and

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no/100 dollars ($100.00). If Defendant receives a sentence of probation, the probationary period
could be up to five (5) years.

Defendant understands that the statutory'penalties for the,_offense of Arson as charged in
Count 5 are as follows: imprisonment for a mandatory-minimum term of five (5) years up to a
maximum of twenty (20) years, a fine of up to two hundred fifty thousand and no/100 dollars
($250,000.00), a period of supervision following release from prison of up to three years, and a
special assessment of one hundred and no/ 100 dollars ($100.00).

Defendant understands that supervised release is a period of time following imprisonment
during which he will be subject to certain restrictions and requirements Defendant further
understands that, if supervised release is imposed and he violates one or more of its conditions,
Defendant could be returned to prison for all or part of the term of supervised release that was `
originally imposed This could result in Defendant's serving a total term of imprisonment greater
than the statutory maximum stated above.

Defendant understands that, in addition to any term of imprisonment and/or iine that is
imposed, the Court may order him to pay restitution to any victim of his offenses, as required by
law. Defendant agrees that any monetary penalty the Court imposes, including the special
assessment, fine, costs, or restitution, is due and payable immediately and further agrees to
submit a completed Financial Statement of Debtor form as requested by the United States
Attorney’s Ofiice. Defendant further agrees that the special assessment shall be paid at or before
the time of sentencing

4. l ‘ Rights Waived by Pleading Guilty. Defendant understands that, by pleading
guilty, he knowingly and voluntarily waives the following rights:

a. -The right to plead not guilty and to persist in a plea of not guilty;

b. The right to a speedy and public trial before a jury of his peers;

c, The right to the effective assistance of counsel at trial, including,r if
Defendant could not afford an attorney, the right to have the Court appoint one for him;

d. The right to be presumed innocent until guilt has been established beyond

a reasonable doubt at trial;

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t e.' The right to confront and cross-examine witnesses against Defendant at
trial;
f. The right to compel or subpoena witnesses to appear on his behalf at trial;
g. The right to testify or to remain silent at trial, at which trial such silence
could not be used against Defendant; and _
h. The right to appeal a finding of guilt or any pretrial rulings.
5. United States Sentencing Guidelines Defendant understands and acknowledges
that, at sentencing, the Court must consider the sentencing range calculated under the
United States Sentencing Guidelines, together with the other factors set forth in Title 18,
United States Code, Section 3553(a), including: (1) the nature and circumstances of the offenses;
(2) the history and characteristics of the defendant; (3) the need for the sentence to reflect the
seriousness of the offenses, to promote respect for the law, and to provide just punishment for the
offenses; (4) the need for the sentence to afford adequate deterrence to criminal conduct; (5) the
need for the sentence to protect the public from further crimes of the defendant; (6) the need-to
provide the defendant with educational and vocational training, medical care, or other
correctional treatment in the most effective manner; (7) the kinds of Sentences available; (8) the
need to provide restitution to victims; and (9) the need to avoid unwarranted sentence disparity 7
among defendants involved in similar conduct who have similar records Accordingly,
Defendant understands and acknowledges that:
a. The Court will determine his applicable Sentencing Guidelines range at
the time of sentencing;
b. Af’ter consideration of the Sentencing Guidelines and the factors in
18 U.S.C. 3553(3), the Court may impose any sentence authorized by law, up to the maximum
term authorized by law; l l l
c. The Court is not bound by any recommendation regarding the sentence to
be imposed, or by any calculation or estimation of the Sentencing Guidelines range offered by the
parties or the United States Probation Department, or by any stipulations or agreements between
the parties in this Plea Agreement; and 7

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d. Defendant may not withdraw a guilty plea solely because of the sentence
imposed by the Court.

6. Restitution. Defendant shall make restitution to the State of Washington in the
amount of four million one hundred thirty thousand and nof 100 dollars ($4,130,000.00) and
restitution to the University of Washington in the amount of one million nine hundred sixty-two
thousand, six hundred forty-nine and 95/ 100 dollars ($1,962,649.95), for a total amount of six
million ninety-two thousand, six hundred forty-nine and 95/100 dollars ($6,092,649.95). _
Defendant shall receive credit against this amount for amounts already paid in restitution Said
restitution shall be due and payable immediately and shall be paid in accordance with a schedule
of payments as proposed by the United States Probation Office and ordered by the Court. The
parties further agree that, to the extent that loss amount‘is relevant to the determination of
Defendant’s offense level under the Sentencing Guidelines, six million ninety-th thousand, six

hundred forty-nine and 95/ 100 dollars ($6,092,649.95) is the appropriate loss amount for that

purpose
7. " Statement of Facts. The parties agree on the following facts. Defendant admits

he is guilty of the charged offense

During 2000 and 2001, Defendant, Justin Solondz, was
acquainted with William Rodgers, who previously had committed
arsons on behalf of the Earth Liberation Front and/or the Animal
Liberation Front. hi approximately April 2001, Rodgers told
Defendant that he was planning to commit an “action” at the
University of Washington, and asked Defendant to participate in
the action. This action was to be targeted at the office of Toby
Bradshaw, a professor at the University of Washington, whom
Defendant understood to be involved in genetic engineering of
poplar trees. '

Defendant agreed to participate in the action. Defendant
subsequently participated in meetings with Rodgers, Jennifer
Kolar, Lacey Phillabaum, and Briana Waters, during which the
made logistical plans to set fire to Bradshaw’s office. During e
day or days prior to the arson, Defendant, along with others,
constructed incendiary devices, which were to be used in the arson,
in a “clean room” in the garage of a house in which Waters was
living. These devices used digital timers to trigger mechanisms
that ultimately ignited containers of gasoline

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` On the evening of May 20, 2001, Defendant, Rodgers,
Phillabaum and Waters drove to Seattle in a rental car. Among
other things, they took with them the incendiary devices that
Defendant had helped make. This foursome then met with Kolar
in Seattle and eventually traveled to the Center for Urban
Horticulture. Defendant remained with the car, to serve as the
getaway driver and a lookout. Waters hid in some bushes and also
served as a lookout The others used the incendiary devices
Defendant had made to set fire to Professor Bradshaw’s office
within the Center for Urban Horticulture. Defendant then drove
the other conspirators away from the area. The incendiary devices
subsequently ignited. The resulting fire destroyed the Center for
Urban Horticulture.

Professor Bradshaw’s research was funded in substantial
part by a consortium of lumber companies that hoped the research
would have practical application in improving the profitability of
poplar farming The lumber companies that funded Professor

` Bradshaw’s research harvest and sell lumber throughout the United

States and abroad. As a result, the Center for Urban Horticulture
was a building used in interstate commerce and in activity affecting
interstate commerce

In late 2005, Defendant was traveling abroad and decided
to lpostpone a previously-planned return to the United States.¢ ln
Fe ruary 2006, after speaking with Defendant, Defendant’s family
cancelled Defendant’s return flight Some time later, Defendant
learned that other members of the conspiracy had been charged
with conspiracy and with committing various arsons in furtherance
of the conspiracy Subsequently, Defendant learned that he, too,
had been criminally charged in connection with an arson
committed in Califomia and with the arson of the Center for Urban

t Horticulture.

Defendant’s desire to avoid prosecution on these charges
was one factor that contributed to his decision to further delay his
return to the United States. In early 2009, Defendant was arrested
by Chinese authorities At the time of, and following, his arrest,
Defendant declined to identify himself. A fake identification card
in the name Isaac Hart was found among Defendant’s possessions
at the time of his arrest.. On occasion, when compelled to sign
documents by Chinese authorities, Defendant signed that name,
rather than reveal his true name. Defendant declined to identify
himself because he knew he was wanted in the United States in his
true identity.

Sentencing Recommendation. The parties agree that they each will recommend

that the Court impose a sentence of 84 months’ (that is, 7 years’) imprisonment, based upon the

factors set forth in Title 18, United States Code, Section 3553(a). The parties further agree that

they each will recommend that this sentence be consecutive to the criminal sentence that

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Defendant served in China. Defendant acknowledges that no one has promised or guaranteed
what sentence the Court will impose. _

9. Non-Prosecution of Additional Offenses. As part of this Plea Agreement, the
United States Attorney’s Office for the Western District of Washington agrees to move to
dismiss Counts 3, 6, and 7 of the Fifth Superseding lndictment at the time of sentencing and not
to prosecute Defendant for any additional offenses known to it as of the time of this Agreement
that are based upon evidence in its possession at this time, and that arise out of the conduct
giving rise to this investigation. ln addition, the United States Attorney’s Ot`f`lce for the East_ern
District of Califomia has agreed that it will dismiss its pending charges against Defendant
relating to the October 15, 2001, arson of the Bureau of Land Management, Litchfield Wild "
Horse and Burro Corrals in Susanville, California.

In this regard, Defendant recognizes the United States has agreed not to prosecute ali of
the criminal charges the evidence establishes were committed by_Defendant solely because of the
promises made by Defendant in this Agreement. Defendant agrees, however, that for purposes of
preparing the Prescntence Report, the United States Attorney’s Oft'ice will'provide the
United States Probation Ofiice with evidence of all conduct committed by Defendant Defendant `
agrees that any charges to be dismissed before or at the time of sentencing were substantially
justified in light of the evidence available to the United States, were not vexatious, frivolous or

taken in bad faith, and do not provide Defendant with a basis for any future claims under the

_“Hyde Amendmcnt,” Pub. L. No. 105-119 (1997).

10. Breach, Waiver, and Post-Plea Conduct. Defendant agrees that, if Defendant
breaches this Plea Agreement, the United States may withdraw from this Plea Agreement and
Defendant may be prosecuted for all offenses for which the United States has evidence.
Defendant agrees not to oppose any steps taken by the United States to nullify this Plea
Agreement, including the filing of a motion to withdraw from the Plea Agreement. Defendant
also agrees that, if Defendant is in breach of this Plea Agreement, Defendant has waived any
objection to the re-institution of any charges in the Fifth Superseding Indictment that were
previously dismissed or any additional charges that had not been prosecuted.

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_ Defendant further understands that if`, after the date of this Agreement, Defendant should `
engage in illegal conduct, or conduct that is in violation of his conditions of release or ` l
confinement (examples of which include, but are not limited to: obstruction of justice, failure to
appear for a court proceeding, criminal conduct while pending sentencing, and false statements to
law enforcement agents, the Pretrial Services Off'rcer, Probation Officer, or Court), the United
States is free under this Flea Agreement to tile additional charges against Defendant or to seek a
sentence that takes such conduct into consideration by requesting the Court to apply additional
adjustments or enhancements in its Sentencing Guidelines calculations in order to increase the

applicable advisory Guidelines rangc, andfor by seeking an upward departure or variance from

the calculated advisory Guidelines range. Under these circumstances the United States is free to

seek such adjustments, enhancements, departures, andjor variances even if otherwise precluded
by the terms of the Plea Agreement
' 1_1, Waiver.of Appeal. As part of this Plea Agreement and on the condition that the
Court imposes a custodial sentence that is within or below the Sentencing Guidelines range (or
the statutory mandatory minimum, if greater than the Guidelines range) that is determined by the
Court at the time of sentencing, Defendant waives to the full extent of the law:
a. any right conferred by Title 18, United States Code, Section 3742 to appeal the
sentence, including any restitution order imposed; and
b. any right to bring a collateral attack against the conviction and sentencc, including
any restitution order imposed, except as it may relate to the effectiveness of legal
representation l
This waiver does not preclude Defendant from bringing an appropriate motion pursuant to 28
U.S.C. 2241, to address the conditions of his confinement or the decisions of the Bureau of
Prisons regarding the execution of his sentence
If Defendant breaches this Plea Agreement at any time by appealing or collaterally l
attacking (except as to effectiveness of legal representation) the conviction or sentence in any
way, the United States may prosecute Defendant .for any counts, including those with mandatory
minimum sentences, that were dismissed or not charged pursuant to this Plea Agreement

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12. Voluntariness of Plea. Defendant agrees that Defendant has entered into this
Plea Agreement freely and voluntarily and that no threats or promises, other than the promises
contained in this Plea Agreement, were made to induce Defendant to enter this plea of guilty.

13. .Statute of Limitations. In the event this Agreement is not accepted by the Court
for any reason, or Defendant breaches any of the terms of this Plea Agreement, the statute of
limitations shall be deemed to have been tolled from the date of the Plea Agreement to: (l) thirty
(30) days following the date o_f` non-acceptance of the Plea Agreement by the Court; or (2) thirty
(30) days following the date on which a breach of the Plea Agreement by Defendant is
discovered by the United States Attomey’s Office.

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14. Completeness of Agreement. The United States and Defendant acknowledge

that these terms constitute the entire Plea Agreement between the parties. This Agreement binds

only the United States Attom'ey’s Office for the Western District of Washington. lt does not

bind any other United States Attorney’s Office or any other office or agency of the United States,

or any state or local prosecutor, except to the extent that Paragraph 9 provides to the contrary

with respect to the United S es Attomey’s Office for the Eastern District of Calif`orrn`a.

Dated this$z_£izay of December, 2011.

PLEA AGREEMENT/SOLONDZ (CRUS-SBZSRBL) - 10

Attorney for Defendant

ANDREW C. FRlEDMAN
Assistant United States Attorney

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THOMAS M. WOODS
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